               IN THE UNITED STATES DISTRICT COURT
             FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

DONALD J. TRUMP FOR                                No. 4:20-CV-02078
PRESIDENT, INC., et al.,
                                                   (Judge Brann)
             Plaintiffs,

        v.

KATHY BOOCKVAR, et al.,

             Defendants.

                                     ORDER

        AND NOW, this 16th day of November 2020, IT IS HEREBY ORDERED

that:

        1.   Plaintiffs’ motion for a continuance (Doc. 152, filed on November 16,

             2020 at 7:40 PM) is DENIED.

        2.   Oral argument will take place as scheduled, tomorrow, November 17,

             2020. Counsel for the parties are expected to be prepared for

             argument and questioning.


                                             BY THE COURT:


                                             s/ Matthew W. Brann
                                             Matthew W. Brann
                                             United States District Judge
